         Case 1:21-cv-08739-PKC Document 19
                                         18 Filed 11/15/21 Page 1 of 1




November 15, 2021
                                                  The deadline for filings are extended by 14 days. The
By ECF                                            November 23 hearing is adjourned to a date to be set after
                                                  hearing further from the parties in 14 days.
The Honorable P. Kevin Castel
Daniel Patrick Moynihan                           SO ORDERED.
United States Courthouse                          Dated: New York, New York
500 Pearl Street, Courtroom 11D                          November 15, 2021
New York, NY 10007

               Re: SEC v. Gallagher, No. 1:21-cv-08739-PKC

Dear Judge Castel:
        I write on behalf of Defendant Steven M. Gallagher, and with the consent of Plaintiff
Securities and Exchange Commission (SEC), to request that the show cause hearing currently
scheduled for November 23, 2021 (see Dkt. No. 15) be adjourned for two weeks, until December
7, 2021. Consistent with that adjournment, I further request that Defendant’s opposing papers to
the Order to Show Cause be filed no later than 5:00 pm on December 2, 2021, and Plaintiff’s
reply papers be filed no later than 5:00 pm on December 6, 2021. The October 26, 2021 Order
(Dkt. No. 11) would otherwise remain in effect during this adjournment.
        In support of this letter requesting adjournment, the defense represents that we are in
active negotiations with the SEC regarding the show cause hearing and the temporary restraining
order, and that the parties, given more time, may reach a resolution that would negate the need
for a hearing.
       This is Mr. Gallagher’s second prior adjournment request. The first request for a two-
week adjournment was filed on October 29, 2021 (see Dkt. No. 13), and was granted by this
Court (Dkt. No. 15).

       We thank the Court for its attention to this matter.


                                                                Respectfully submitted,
                                                                /s/ Eric Rosen
                                                                Eric Rosen
                                                                ROCHE FREEDMAN LLP
                                                                99 Park Avenue, Suite 1910
                                                                New York, New York 10016
                                                                (617) 977-4163
                                                                erosen@rochefreedman.com


CC: Counsel of Record


                                        ROCHE FREEDMAN LLP
       99 Park Avenue, Suite 1910, New York, NY 10016 | (t) (646) 350-0527 | www.rochefreedman.com
